Case 2:05-cr-20041-.]DB Document 22 Filed 06/02/05 Page 1 of 2 Page|D 30

|N THE UN|TED STATES D|STRICT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN DIVlSlON

Fn.Ec) st U.Pv.”:m o.c.

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UN|TED STATES OF A|VlERlCA
P|aintiff,

VS.

KENNETl-l CHAMBERS
Defendant.

CLEH,\. ,3. . .
W.D OF `l`l‘~l, Mt'€l='lPHIS

CR. NO. 05-20041-B

 

ORDER ON CHANGE OF PLEA
AND SETTING

 

This cause came on to be heard on June 2, 2005, the United States Attorney forthis
district, Camil|e Nlc l\/lu|lenr appearing for the Government and the defendant, Kenneth
Chambers, appearing in person and with counsel, Apri| Goode, who represented the

defendant

With leave of the Court, the defendant withdrew the not guilty plea heretofore

entered and entered a plea of guilty to Count 1-19 of the Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this Case is SET for THURSDAY, SEPTEMBER 1, 2005, at

1:30 P.M., before Judge J. Daniel Breen.
Defendant is remanded to the custody of the U. S. Nlarsha|.

ENTERED this the _ day of June, 2005.

/

J. A lEL BREEN \
lT D STATES D|STR|CT COURT

This docL,ment entered on the docket sheet in compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:05-CR-20041 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

April Rose Goode

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Honorable J. Breen
US DISTRICT COURT

